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       EXHIBIT F
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                         2016
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DISTRICT PROSECUTOR'S OFFICE
IV Organizational and Court Division
Okopowa 2a street
20-950 Lublin
                                                                                       Lublin, August 16, 2016

V 79/15/S

                                 Decision to discontinue the investigation

Krzysztof Rubik - prosecutor of the District Prosecutor's Office in Lublin, after reading the files of the

investigation with reference number V 79/15 / S in the case of acts under Art. 286 § 1 of the k.k. in

connection with Art. 294 § 1 of the k.k. in connection with Art. 271 § 3 of the k.k. in connection with § 1

of the k.k. in connection with Art. 231 § 2 of the k.k. in connection with Art. 11 § 2 of the k.k. in connection

with Art. 12 of the k.k. and in connection with Art. 231 § 1 of the k.k.


    -   based on Article. 17 § 1 point 2 of the k.p.k.

                                                   decided:

discontinue the investigation in the case:

        1.       has occurred in short time intervals, with premeditated intention, abuse of power in the

period from May 4, 2006 to February 15, 2007 by appointed officers of the Ludwin Commune Office by

certifying an untruth in the documentation regarding the legal status of the property, in the performance of

a pre-planned intention. marked in the land register of the village of Rozpłucie Pierwsze no 90 and 94/2

with a total area of 9.19 ha. including notices of tenders and negotiations. which was the basis for

negotiations on the lease of the "Jagoda" Recreation Center on Lake Piaseczno, as to the circumstances

having legal significance in the form of the legal status of the indicated real estate, which led to misleading

the authorities of Antar Ltd Sp. z o.o. with regard to legal defects and obligations affecting the plots of land,

which resulted in the indicated company to disadvantageously dispose of its own property




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in the amount of at least PLN 13,889,256.46 in the form of expenditure incurred in connection with the

lease of the property in question, with no real possibility of its subsequent acquisition by the lessee. thereby

acting to its detriment.

        i.e. for an act under Art. 286 § 1 of the Penal Code (k.k.) in connection with from Art. 294 §

1 of the k.k. with art. 271 § 3 of k.k. in connection with § 1 of k.k. in the collection with art. 231 § 2 of

k.k. in connection with art. 11 § 2 of k.k. in connection with art. 12 of k.k.,


2. has occurred in short time intervals, with premeditated intention, abuse of power and breach of duty by

appointed public functionaries in the period from 19 April 2012 to 5 September 2015 in Lublin through

unlawful influence, during the proceedings in Lublin District Ref. IC 28/12, for substantive examination of

the indicated case without undue delay, “Solo Investment” Sp. z o.o., which was treated to the detriment of

private interest of that company and to the detriment of the appearance of justice,


        i.e. for an act under Art. 231 § 1 of k.k. in connection with art. 12 of the k.k.,

- it was found that indicated actions do not contain the constituent elements of the act prohibited (Art. 17 §

1 point 2 of the Code of Criminal Procedure (k.p.k.)).


                                               Substantiation


        On August 7, 2015, the District Prosecutor's Office in Lublin received a notification prepared by

Jarosław Tarnasiewicz Heldut that a crime had been committed by officers of the Ludwin Commune Office.

He indicated in it that from 2006 to August 5, 2015 fraud was committed to the detriment of Solo Investment

Sp. z o.o. (formerly Antar Ltd Sp. z o.o.) and to the detriment of his and his family by specific officials of

the indicated commune, mainly the mayors Zygmunt Ogorek and Andrzej Chabros, legal advisor Alicja

Kostrubiec-Bijata and the employees of Krystyna Florek, Krystyna Bilska and Szymona Czech, which




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consisted in the deliberate and intended certification of untruths in the tender documents regarding the

tender for the lease of real estate located in the village of Rozpłucie Pierwsze and in the lease agreement

concluded between the indicated entities of February 15, 2007 concerning information on the legal status

of the real estate by providing and informing that the real estate is free from encumbrances, legal defects

and claims of third parties, in a situation where, at the indicated moments, proceedings were conducted in

relation to the real estate at the request of legal successors owners as well on the deliberate and intended

certification of untruths in a written contract for the promise of sale of real estate that could not be sold due

to pending administrative proceedings, which led to the fact that the aggrieved company invested PLN

15,000,000.00 in the leased real estate, and then could not purchase ownership of the land, which caused

damage to the company and indirectly to the notifying party.

In the justification of his letter, he pointed out that the owners of the aggrieved company are now Bożena

Tarnasiewicz and their children Sylwia and Andrzej Tarnasiewicz. The company deals with investment

activities in the construction industry. In 2006 the notifying party found out that the Jagoda holiday resort

on Lake Piaseczno could be sold. However, the Ludwin Commune Office told him that in reality it could

not be sold, because there would be a fear of dividing the property and reselling it to private owners, and

the commune wanted to maintain the center in full. The parties decided that the company of the notifying

party would lease the property and, after completing the investment, buy it back at the price of the land

value. The tender notices signed by the mayor Zygmunt Ogórek, contained information that the property

was free from encumbrances. Then, due to the lack of interest in the lease, negotiations took place in

December 2006, from which a protocol was drawn up, signed by Krystyna Florek, Krystyna Bilska and

Szymon Czech. It also contains information that the property is unencumbered. The legal counsel of the

commune was responsible for preparing the documents. In § 2 of the agreement of February 15, 2007 there




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was a statement that the landlord declares that the property is free from encumbrances and material rights

and obligations of third parties, and is not aware of any circumstances excluding the use of the property for

the purposes of running a Holiday Center. In the opinion of the notifying party, this wording misled the

lessee, as the return procedure was suppressed. The investment took about 4 years. Its cost exceeded PLN

15,000,000.00, the commune accepted the expenditure in the total amount of PLN 13,889,256.46. On

August 12, 2011, the company applied for the purchase of real estate, taking into account the expenses

incurred. The reply of the mayor Andrzej Chabros on August 29, 2011 indicated that it is impossible. In the

letter of September 15, 2011, the company renewed its call for the performance of the contractual

provisions. Andrzej Chabros, on September 22, 2011, announced that the property is not for sale, as

proceedings for the return of the plot have been pending since 1991. The notifying party emphasized that it

was the first moment when the company learned about such a fact. Therefore, a letter was drawn up to

avoid the legal consequences of the declaration of will. The company applied for the reimbursement of the

equivalent of the expenditure in the accepted amount, the commune refused, so a civil case was initiated in

the District Court in Lublin, I Civil Department, ref. No. IC 28/12. In a letter of March 1, 2012, the mayor

announced that the only possibility of resolving the existing situation was to leave the investment by the

company without return of expenditure.

        In the course of accepting the oral notification of the crime and questioning Jarosław Tarnasiewicz

Heldut as a witness on August 25, 2015, he additionally indicated that the commune had already emphasized

in the tender notices that the property was free from encumbrances and that the commune knew nothing

about the claims of persons who could have such claims. The parties concluded a "gentleman agreement",

according to which the property will be sold to a real estate company after the center is built under a long-

term lease agreement. He indicated that before signing the contract, it was rewritten and the provision that

the lessee may terminate the contract with a one-year notice period, with reimbursement of the expenditure,

was eliminated. The notifying party noticed it the next day and told the




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mayor about it, but it was not a major problem. Jaroslaw Tarnasiewicz Heldut emphasized that he found

out about Jerzy Wojtasiewicz only in 2011, the company's employees told him about the proceedings, they

lived in the areas close to the center. In this situation, he contacted the attorney of the legal successor of the

owner, Mr. Grotowski. Finally, he added that in the pending civil proceedings with reference number I C

28/12, three (3) expert opinions have already been called up. It admits further motions for evidence of the

commune, including expert opinions, the dates of hearings are postponed and canceled, and nothing can be

done with the center, which due to this, is deteriorating.


        On the basis of the above notification, checks were carried out and on September 10, 2015, a

decision was issued to refuse to initiate an investigation, due to the failure to identify the features of a

prohibited act in relation to an act under Art. 286 § 1 of the k.k. in connection with Art. 294 § 1 of the k.k.

in connection with Art. 271 § 1 of the k.k. in connection with Art. 11 § 2 of the k.k. in connection with

Art. 12 of the k.k., as well as in the absence of data sufficient to justify the suspicion of committing a

prohibited act in relation to an act under Art. 231 § 1 of the k.k. On October 7, 2015, the attorney of the

aggrieved company, attorney Andrzej Samulak, filed a complaint, after which the District Court in Lublin

was examined by a decision of November 24, 2015, issued in case no. IV Kp 1566/15 repealed the

contaminated decision and referred the case for reconsideration. In the justification of his decision, he

indicated that the necessary evidence was not carried out in the proceedings, in the form of, inter alia,

interrogating witnesses - the authorities and employees of the Ludwin Commune and Andrzej Pawlak, in

order to verify the claims that the crime had been committed to the detriment of the reporting company.

Finally, he also stated that with regard to the act from point 2 of the decision refusing to initiate an

investigation, and concerning the offense under Art. 231 § 1 of the k.k. the arguments of the person

conducting the proceedings should be shared, because time-consuming proceedings by an independent

panel of judges, in particular related to the collection of extensive evidence and consideration of requests

to adjourn the hearing, do not justify the claim that are the prerequisites




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under Art. 231 § 1 of the k.k. or other unlawful behavior detrimental to the interests of the parties to the

proceedings.


        Based on the materials collected in the course of the proceedings, in particular the tender

announcement of May 4, 2006, the announcement on negotiations of October 12, 2006, the lease agreement

of February 15, 2007, the negotiation protocol of December 2006 and January 2007, letters between the

aggrieved company and the authorities of the Ludwin Commune of August 12, 2011, August 29, 2011,

September 15, 2011, September 22, 2011 and March 1, 2012, an excerpt from the National Court Register

of Solo Investment, a judgment of the Provincial Administrative Court in Lublin of April 28, 2015 in the

case with reference number II SA/Lu 680/14, partly of Jarosław Tarnasiewicz's notes, entitled "HISTORY"

and "PERSONS AND THEIR RELATIONSHIP WITH THE CASE", excerpts from land and mortgage

registers: LUII/00135980/6 and LUII/00141599/3, Antar Ltd's offer of December 1 2006 on the lease of

land, ordinance No. 138A of the mayor of the Ludwin Commune of September 27, 2004, as well as

protocols of interrogations of witnesses Andrzej Chabros, Sławomir Czubacki, Zygmunt Ogórka, Szymona

Czech, Krystyna Florek, Andrzej Pawlak, Alicja Kostrubiec-Bijata, Krystyna Bilata and Krystyna Bilska

the following facts have been established:


        Jarosław Tarnasiewicz Heldut was the owner of Antar Ltd, now known as Solo Investment.

Currently, the partners are Bożena Tarnasiewicz-Heldut, Andrzej Tamasiewicz-Heldut and Sylwia

Tarnasiewicz-Heldut. Jarosław Tarnasiewicz-Heldut is the representative and general director, the power

of attorney was established on the basis of the notarial deed of August 11, 2014. In the village of Rozpłucie

Pierwsze there is a property on plots no. 90 and 94/2 with a total area of 9.19 ha. The following land registers

are kept for the indicated areas: LU11/00135980/6 and LU11/00141599/3, both in which the Ludwin

Commune is entered as the owner. No information is provided in the section on rights, claims and

limitations. The commune acquired them under the decision on communalization of October 9, 1991, issued

by the competent administrative authority under the authority of the Lublin Voivode. Since 1991,




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administrative proceedings have been initiated by Jerzy Wojtasiewcz, Krzysztof Wojtasiewicz and Lucyna

Ptasińska, legal successors of the previous owner, regarding the return of the expropriated real estate,

including the indicated plot. In this case, among others, the judgment of the Provincial Administrative Court

in Lublin of April 28, 2015, file ref. II SA / Lu 680/14, repealing the decision of the Lublin Voivode of 30

May 2014 to refuse to return the expropriated property, the proceedings are currently pending before the

Supreme Administrative Court. For this reason, in subsequent periods, the real estate is each time leased to

individual entities.


        Jarosław Tarnasiewicz Heldut got acquainted with the first tender announcement for the lease of

the above-mentioned real estate in 2006. Together with Wiesław Tokarz, also representing the notifying

company, they reported to the Ludwin Commune office. In one of the discussions held in connection with

the announcement, Krystyna Florek informed Wiesław Tokarz that administrative proceedings were

pending regarding the return of the expropriated property. The second tender notice of May 4, 2006 was

prepared and published, in which it was indicated that the property in question was free from encumbrances.

The above statement was also included in the announcement on the negotiations of October 12, 2006.

Pursuant to the ordinance No. 138A of the mayor of the Ludwin Zygmunt Ogórka of September 27, 2004,

the Commission for the distribution of the commune's real estate was established. Krystyna Florek became

its chairman, and Alicja Kostrubiec-Bijata, Szymon Czech and Krystyna Bilska became its members. The

negotiation reports conducted by the indicated entities, as well as representatives of Antar Ltd in the persons

of Jarosław Tarnasiewcz-Heldut, Andrzej Pawlak and Wiesław Tokarz also stated that the property was

free from encumbrances. In the land and mortgage registers of individual plots, just like today, there was

no mention of any rights or limitations of ownership. In connection with the above premises, on February

15, 2007 a lease agreement was concluded between the promising entities. On the day of signing, both

parties had computers with the content of the contract,




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which were interfered with by mutual agreement, among others by removing the provision regarding the

possibility of termination by the lessee with a 12-month notice period, with reimbursement of the

expenditure. Ultimately, after the contract was printed and both parties read it, it was signed, and no

modifications were made to its content after printing. In its § 2 it was stated that the landlord declares that

the real estate is free from encumbrances and material rights and obligations of third parties and is not aware

of any circumstances excluding the use of the real estate for the purposes of running a Holiday Center.

Moreover, § 12 stipulated that the lessee was entitled to purchase the subject of the lease without a tender

procedure, on the terms specified in separate regulations (in the case of development based on a building

permit). In 2007-2011, an investment was carried out by the notifying company, and appropriate building

permits were obtained. The amount of over PLN 15,000,000.00 was spent, of which the Commune accepted

expenditure in the amount of PLN 13,889,256.46. In the course of one of the permit proceedings, Jerzy

Wojtasiewicz reported his participation, who was refused the right to join the proceedings by a decision of

May 2, 2008. Its copy was also delivered to Jarosław Tarnasiewcz Heldut.


        On August 12, 2011, Solo Investment applied for the purchase of real estate taking into account the

expenditure incurred. The reply of the mayor Andrzej Chabros of August 29, 2011 indicated that it was

impossible. In the letter of September 15, 2011, the company renewed its call for compliance with the

contractual provisions. Andrzej Chabros, on September 22, 2011, announced that the property is not for

sale, as proceedings for the return of the plot have been pending since 1991. Therefore, Solo Investment

has prepared a letter to avoid the legal consequences of the declaration of will. The company applied for a

return of the equivalent of the expenditure in the accepted amount, the commune refused, so it was initiated

by a lawsuit of January 13, 2012, a civil case in the District Court in Lublin, I Civil Department, file no. I

C 28/12. In a letter of March 1, 2012, the mayor of the commune announced that the only possibility of

resolving the existing situation




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was to leave the investment by the company without return of expenditure. Until now, civil proceedings are

pending in this case regarding the reimbursement of incurred expenses. Further evidence requested by the

parties is carried out, some hearing dates are postponed.


        The indicated, established facts were referred to the allegations made in the notification of the

commission of the crime, and concerning the implementation by the employees of the Ludwin Commune

in the persons of Krystyna Florek and Zygmunt Ogorek of the features of a prohibited act under Art. 286 §

1 of the Criminal Code, which penalizes another person to disadvantageously dispose of their own or

someone else's property by deceiving them, or by exploiting an error or inability to properly understand the

actions taken, Art. 271 §1 of the Criminal Code, which forbids, prohibiting under a threat of penalty the

certification of untruths in a document as to circumstances of legal significance by a public official and

another person authorized to issue such a document, and also under Art. 231 § 2 of the k.k. determining the

criminal liability of a public official who, in order to gain financial or personal benefits, exceeds his powers

or fails to fulfill his duties, thereby harming the public or private interest.


        Unfavorable disposal of property, as a result of fraud stipulated in Art. 286 § 1 of the Penal Code,

generally speaking, means deterioration of the financial situation of the aggrieved party, although it does

not have to consist in causing effective damage (judgment of the Supreme Court of 30 August 2000, ref. V

KKN 207/00. OSP 2001, No. 3). It is a directional crime in which the purpose of the perpetrator's actions

is to obtain a broadly understood material benefit, which may consist in both obtaining a profit (increasing

assets) and reducing liabilities. The perpetrator's pursuit may include benefits for himself as well as for

someone else. Misleading as a hallmark of an executive act of fraud consists in causing a discrepancy

between the objective reality and the victim's perception or perception of it (judgment of the Court of

Appeal in Wrocław of November 6, 2012, file ref. II Aka 280/12).




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        Referring to the second of the cited provisions, provided for in Art. 271 § 1 of the Criminal Code,

it should be noted that it does not apply to any documents signed by public officials who are certainly

employees of the Commune Office, but only to those issued by them. As pointed out by the Supreme Court,

"the right to issue a document does not apply to the general competence to participate in legal transactions,

and therefore does not constitute issuing a document confirming falsehood within the meaning of Art. 271

§ 1 of the k.k., as well as the conclusion of a civil law contract by the parties to the transaction. It is also

emphasized that the right of another person, referred to in Art. 271 § 1 of the k.k. to issue documents, it

complements the competences of a public official and is not tantamount to a general possibility of

participating in legal activities and making various statements there. The document issued by such a person

is to contain in its content a certificate which is entitled to the hallmark of public trust, and therefore

presumed to be true (Supreme Court judgment of 26 March 2015, file no. IV KK 422/14).


        When considering filling the stigmas of Art. 231 § 2 of the k.k. it should be borne in mind that in

order to assign the perpetrator a crime under Art. 231 § 1 of the k.k. a public official must include his

intention both in breach of his powers or in breach of duties, and in the fact that he acts to the detriment of

the public or private interest (decision of the Supreme Court of October 10, 2012, file No. V KK 27/12).


        In the context of the case at hand, it is also extremely important to understand the concept of

"encumbrance" in relation to real estate. This is a civil term. As it is accepted in the jurisprudence, entry in

the land and mortgage register of a personal right or a claim has a double effect or the claim becomes

effective in relation to the rights acquired by legal action after its disclosure. Secondly, such a personal

right or claim is protected by a guarantee of public faith in land and mortgage registers. Such a claim or

right which is purely obligatory before being entered in the land and mortgage register becomes a law or a

"reified" claim (decision




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of the District Court in Gdańsk of August 31, 2011, file No. Ill Ca 498/11). Lack of due diligence of the

parties to the contract in determining whether the subject of the contract is not encumbered with the rights

of third parties excludes the good faith of the contractor. The High Court indicated that the degree of

diligence, me what the counterparty should add depends on the degree of risk in a given type of relationship

(judgment of September 19, 1984, ref. no. II CZ 83/84). It should be added that a greater degree of diligence

should be required in transactions involving a person with knowledge of the laws of the market due to his

profession. Therefore, an entity conducting business activity cannot be exempted from a considerable

degree of diligence when verifying the legal status relating to a specific subject of a high-value contract

(Supreme Court judgment of 23 January 1998, reference number I CKN 430/87). All rights in rem are

limited, as well as rental or tenancy rights, as well as rights and personal claims disclosed in the land and

mortgage register (Rudnicki Grzegorz, "Commentary to the Civil Code, Book Two, Property and other

rights in rem”, X. LexisNexis 2011) The encumbrances are all limited property rights and obligation rights

(in particular, the lease or tenancy agreement), as well as other personal rights and claims disclosed in the

land and mortgage register (Ciszewski Jerzy (ed.), "Civil Code, Comment". 2nd edition. LexisNexis 2014).

It is true that the above statements of the comments were made on the basis of the consideration of perpetual

usufruct charges, however, they apply to the same extent to all other encumbrances arising under civil law.


        Transferring the above considerations to the field of the present case, it should be stated that the

actions of the employees of the Ludwin Commune Office did not meet the features of any of the

aforementioned provisions, as regards to the fraud under Art. 286 § 1 of the k.k., as well as exceeding the

powers under Art. 231 § 2 of the k.k. and false statements from art. 271 § 1 of the k.k. First of all, it should

be emphasized that all actions ordered by the Court examining the complaint against the earlier decision to

refuse to initiate proceedings were performed in the proceedings, however, their results do not allow




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for a different assessment of the fulfillment of the criteria of a crime. At the beginning, it is necessary to

discuss the issue related to the certification of untruths in the documents issued by officials, which became

the beginning of further alleged fraud and was related to the violation of powers by public officials. In this

respect, the notifying party indicated that incorrectly and deceitfully, both in the tender announcements, in

the negotiations and in the contract of February 15, 2007, a statement that the subject of the final contract

was free of encumbrances was included. Within the scope of the contract itself, the behavior of Krystyna

Florek who prepared the documents and Zygmunt Ogórek signing them cannot be considered through the

prism of Art. 271 § 1 of the Penal Code, because, as indicated above, the established line of jurisprudence

is that in relation to a civil law contract, no document is issued, but only an officer's participation in the

legal transactions, and therefore it cannot be said that in such a situation there was false certification in the

issued document. Taking into account the aforementioned provision of the Penal Act, only published

announcements regarding the tender and negotiations, which were in fact documents issued by an officer

in the person of the mayor of the commune, and related to circumstances of legal significance, relating to

the potential conclusion of a lease agreement, could be considered. Certainly, their important element was

the statement regarding the lack of encumbrances on the property, which was important for a potential

contractor. However, there is no doubt that there was no falsehood in this respect, as the real estate was not

actually encumbered. There are no entries in the land and mortgage register regarding any limitations of

rights or claims. There were also no limited rights in rem, the catalog of which was exhaustively specified

in the provisions of the Civil Code. It is absolutely impossible to agree with the position that the mere

appearance of a claim for the return of expropriated property in a separate administrative procedure is such

a burden. This is inconsistent with the above position of the doctrine, and first of all, it should be emphasized

that it is completely impossible to




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predict the outcome of a case that has been going on for more than 20 years, and it cannot be argued that

the mere initiation of it causes that the property in question is encumbered in any way. After all, it is quite

realistic that a completely unauthorized person would initiate such proceedings without real grounds, and

in no case would it be appropriate to assume that already in such a situation there is a burden on the property,

which must be determined each time. It should be noted that none of the advertisements stated that there

were no claims against the real estate, only that it was free from encumbrances. At the same time, stating

that all the statements contained in the announcements were true, there is no doubt that there was no

violation of powers by officials from the Ludwin Commune in connection with the announcements made.

Moving on to the contract itself, concluded between the parties, in which § 2 was questioned, it should be

noted that it also applied to encumbrances and material rights from which the real property was actually

free, as well as obligations of third parties. In fact, no other persons had liabilities to the property.

Additionally, it was informed that there were no other circumstances that would affect the possibility of

running the holiday center. The claim for the return of expropriated real estate could not be such a

circumstance, because it related to the campsite and the forested part of the area, the loss of which, even if

the claim was justified, would not in any way hinder the implementation of the completed investment.

Therefore, also here it must be noted that the falsehood was not confirmed, although, of course, as already

indicated, the provision of Art. 271 § 1 of the k.k. it couldn't be used anyway. Moving on to the

consideration of misleading Antar Ltd by concealing information relating to the pending proceedings for

the return of real estate, and thus leading to an unfavorable disposal of the property by investing a significant

amount of money in the construction of the center, it should also be stated that the signs of a crime. First,

it is important to point out that Krystyna Florek informed Wiesław Tokarz, who represented the future

contractor, about the proceedings taking place.




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It was not necessary to inform all entities involved in the negotiations, bearing in mind that it was consistent

with the principles of life experience that they would share the information obtained, especially on such an

important aspect. Moreover, the statement of Jarosław Tarnasiewcz Heldut that he found out about this fact

only in 2011, when the materials collected in the case clearly show that already in 2008 the company was

notified of the proceedings by receiving a copy of the decision refusing to recognize Jerzy Wojtasiewcz, a

party to the building permit case. Moreover, one cannot lose sight of the fact that, as indicated by the

notifying party, he was from the outset interested in buying and not in leasing the land in question. For this

reason, he certainly tried to find out why such a sale is not possible, and the ads concern only the lease. It

was his responsibility to thoroughly familiarize himself with the legal status of the leased real estate,

including by talking to the other party to the contract or local residents. He should also analyze the subject

related to the lease decision in more depth, because the very statement that it results from the intention to

leave the area without dividing it must have raised doubts as it did not contain all the related arguments,

especially from the point of view of the fact that each time previously, the property was only leased and

never offered for sale. It should also be clearly emphasized that in this situation there can be no question of

a fraud leading to an unfavorable disposal of property. Pursuant to the provisions of the agreement, which

were not questioned, the company was able to acquire ownership of the real estate through a sale without a

tender under certain conditions. It concluded a lease agreement for a period longer than 10 years, built the

area on the basis of specific building permits. However, perhaps the most important condition that the owner

should decide to sell has not been met. It was obvious for both parties to the contract that this was the

condition for the possible purchase of the property and its fulfillment did not have to depend on any

proceedings for the return of the property. Even if such a procedure did not take place. It is easy to




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imagine a situation in which the commune does not want to sell the real estate even for the entire duration

of the lease agreement, which would lead to the fact that the company could not buy the plots at all. The

contract was signed with such awareness, and this was the awareness of the company's representatives and

partners during the implementation of the entire investment. Therefore, any costs arising in this respect may

not in any way be treated as a result of misleading the notifying party and his family, but as a deliberate

action in the performance of the concluded lease agreement, which in addition clearly states that in the

event of termination of the prior agreement by the lessee, he will not be entitled to receive the equivalent

of the expenditure. The statements made by the notifying party may only be the subject of civil proceedings

regarding the conclusion of the contract itself, possible legal defects of individual statements or

reimbursement of expenses, which proceedings were actually initiated in this case, and do not justify the

continuation of criminal proceedings and the presentation of charges to any persons.


        Considering all the arguments raised above, it should be emphasized that with regard to point I of

the sentence, there are no features of a prohibited act.


        Finally, one should also refer to the act specified in point 2 of the operative part of this provision.

It is true that the District Court in Lublin, in its decision of November 24, 2015, revoked the previous

decision to refuse to initiate an investigation in its entirety, however, in the justification of its decision, it

stated that regarding the point concerning the fulfillment of the criteria of an act under Art. 231 § 1 of the

k.k. in the course of civil proceedings, the arguments of the person conducting the proceedings should be

divided, because time-consuming proceedings by an independent judiciary, in particular related to the

collection of extensive evidence and consideration of requests to adjourn the hearing, do not justify the

claim that the prerequisites under Art. 231 § 1 of the k.k. or other unlawful behavior detrimental to the

interests of the parties to the proceedings. These views should be fully divided, because it cannot raise any

doubts that the mere postponement of individual dates of hearings or admitting further motions of evidence,

even if it actually affects the length of the proceedings, does not automatically mean that there has been an

abuse of rights or failure to fulfill obligations. by the judge in charge. In particular, it should not be forgotten

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that the civil case is multi-voluminous, has a rather complicated factual state, based on the settlement of

specific cases, and both parties submit numerous motions for evidence. This is also accompanied by

problems with setting subsequent dates, due to both the burden on the courts and the circumstances on both

sides of the proceedings and those referred to by witnesses in the case. In this situation, the party is entitled

at most to complain about the length of the proceedings, and this may not be the subject of possible criminal

liability.


         Art. 17 § 1 point 2 of the Code of Criminal Procedure indicates that no proceedings are instituted,

and the instituted proceedings are discontinued if there are no indications of a prohibited act.


         Therefore, taking into account the established facts and the above-mentioned arguments, it was

justified under Art. 17 § 1 point 2 of the Code of Criminal Procedure - discontinuation of the investigation

for the reason indicated in the positive part of this decision.


                                                                              Public prosecutor
                                                                              District Prosecutor's Office
                                                                              Krzysztof Rubik

Caution:
1.The above decision may be appealed to the court competent to hear the case (Art.
306 § of the Code of Criminal Procedure (k.p.k.), Art. 465 § 2 of k.p.k.):
- the aggrieved party
- the institution mentioned in art. 305 § 4,
- the person mentioned in art. 305 § 4 of the k.p.k., if its rights were violated as a result of a crime.
The court may uphold the appealed decision or revoke it and refer the case to the prosecutor
in order to clarify the indicated circumstances, or to carry out the indicated activities (Article 330 § I of the
k.p.k.).
If the public prosecutor still does not find grounds to bring the indictment, he will re-issue a decision on
refusal to initiate an investigation - investigation *) or about its discontinuation.
In this case, the victim who used the powers provided for in Art. 306 § 1 of the k.p.k. may
file an indictment to the court within 1 month from the date of service of the notification of
a decision which is equivalent to a notification of a decision within the meaning of Art. 55 § 1 of the Code
of Criminal Procedure (k.p.k.)
attaching one copy for each of the accused and the public prosecutor (Article 330 § 2 of the k.p.k., Article
55 § 1 of the k.p.k.).
The indictment should meet the requirements set out in Art. 55 § 1 and 2 of the k.p.k.
Another person aggrieved by the same act may continue the trial at the main hearing
join the proceedings (Article 55 § 3 of the k.p.k.).
2. The persons authorized to submit a complaint referred to in Art. 306 § I of the k.p.k. has the right
reviewing the case files (Article 306 § 1b of the k.p.k.).

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3. A complaint against the above decision shall be lodged through the public prosecutor who issued the
decision.
The deadline for lodging a complaint is 7 days from the date of delivery of the copy of the order and is
strict. Complaint
filed after this deadline is ineffective (Art. 122 § 1 and 2 and Art. 460 of the k.p.k.).

Ordinance:
Pursuant to Art. 100 § 4 of the k.p.k. in connection with with art. 106 of the Labor Code, and art. 306 § I a
of the k.p.k. deliver a copy of the order:
1) the aggrieved party - Solo Investment Sp. z o.o.
2) the victim's attorney - adv. Andrzej Samulak,
3) the person notifying in accordance with art. 305 § 4 of the k.p.k. - Jarosław Tarnasiewicz Heldut.



                                                                           Public prosecutor
                                                                           District Prosecutor's Office
                                                                           Krzysztof Rubik




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                    ORDER FOR CHANGING THE ORDER IN THE SUBJECT
                  DELIVERY OF A COPY OF THE PROVISION CONTAINED IN
             DECISION OF 16 AUGUST 2016. ABOUT REMOVAL OF INVESTIGATIONS

        Justyna Rutkowska - Skowronek - prosecutor of the District Prosecutor's Office in
Lublin, after reading the files of the investigation with reference number PO V Ds. 79/15 / S and
by decision of August 16, 2016 to discontinue the investigation

pursuant to Article 93§3 of the Code of Criminal Procedure and Article 99§2 of the Code of Criminal
Procedure

I order :

to change the order on the delivery of a copy of the order contained in
by decision of August 16, 2016 to close the investigation, as to
delete point 2 "to the attorney of the victim - adv. Andrzej Samulak -, with attention
for termination of the power of attorney by the aggrieved party on November 26, 2015




Prosecutor of the Disctrict Prosecutor’s Office in Lublin
Justyna Rutkowska- Skowronek


This order to be delivered to:

    -       the aggrieved party- Solo Investment LLC
    -       Informant - J. Tarnasiewicz -Heldut




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